     Case: 1:24-cv-13065 Document #: 44 Filed: 02/26/25 Page 1 of 1 PageID #:660

                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Liyu Liu, Ltd.
                                                    Plaintiff,
v.                                                               Case No.: 1:24−cv−13065
                                                                 Honorable Sharon Johnson
                                                                 Coleman
The Partnerships And Unincorporated
Associations Identified On Schedule A,, et al.
                                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 26, 2025:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Motion hearing
held on 2/26/2025. Defendants did not appear nor contact the Court. Plaintiff's motion for
entry of a preliminary injunction [36] is granted. Enter Order. The Clerk of Court is
directed to unseal plaintiff's First Amended Schedule A to the Pleading [20], Exhibit 2 to
the Declaration of Liyu Liu [12−1], and the Temporary Restraining Order [28]. An
in−person status hearing is set for 4/14/2025 at 10:00 AM. Law Firm A is ordered to add
ALL Defendant names listed in the Schedule A to the docket within three business days.
Instructions can be found on the court's website located at
https://www.ilnd.uscourts.gov/_assets/_documents/_
forms/_cmecf/pdfs/v60/Add_Terminate_Instructions.p df. Mailed notice. (ym)




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